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                          UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                 WACO DIVISION


   ACQIS LLC,
   a Texas limited liability company,                 CONSOLIDATED

                     Plaintiff,                  JURY TRIAL DEMANDED
            v.

   MITAC COMPUTING TECHNOLOGY
   CORPORATION and MITAC HOLDINGS              Civil Action No.: 6:20-cv-962-ADA
   CORPORATION, a Taiwan corporation,
               Defendants.
                                               Civil Action No.: 6:20-cv-965-ADA
   ASUSTEK COMPUTER, INC.,
               Defendant.
                                               Civil Action No.: 6:20-cv-966-ADA
   INVENTEC CORPORATION, a Taiwan
   corporation,
                Defendant.                     Civil Action No.: 6:20-cv-967-ADA

   LENOVO GROUP Ltd. et al.,
              Defendants.                      Civil Action No.: 6:20-cv-968-ADA

   WIWYNN CORPORATION, a Taiwan
   corporation,
                Defendants.



                   ACQIS’S CLAIM CONSTRUCTION SURREPLY BRIEF




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 2                U.S. Patent No. 9,703,750 (“’750 patent”)
 3                U.S. Patent No. 8,977,797 (“’797 patent”)
 4                U.S. Patent No. 7,676,624 (“’624 patent”)
 5                U.S. Patent No. 8,041,873 (“’873 patent”)
 6                U.S. Patent No. 8,626,977 (“’977 patent”)
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 13               U.S. Patent No. RE44,739 (“’739 patent”)
 14               U.S. Patent No. RE45,140 (“’140 patent”)
 15               U.S. Patent No. RE46,947 (“’947 patent”)
 16               Expert Declaration of Marc E. Levitt, Ph.D. Regarding Claim Construction
                  dated June 3, 2021 (“Levitt Decl.”) and Exhibit A thereto, filed in ACQIS LLC v.
                  Samsung Elec. Co., Ltd., et al., No. 2:20-cv-00295-JRG (E.D. Tex. Jul. 8, 2021)
 17               Rebuttal Expert Declaration of Marc E. Levitt, Ph.D. Regarding Claim
                  Construction dated June 21, 2021 (“Levitt Rebuttal Decl.”), filed in ACQIS LLC v.

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 19            Excerpts from PCI Local Bus Specification, Rev. 2.2 (Dec. 8, 1998) (“PCI 2.2”)
 20            Excerpts from The IEEE Standard Dictionary of Electrical and Electronics
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 21            Excerpts from Universal Serial Bus Specification, Rev. 1.0 (Jan. 15, 1996) (“USB
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 22            Excerpts from Universal Serial Bus Specification, Rev. 2.0 (Apr. 27, 2000) (“USB
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 23            U.S. Patent No. RE42,814 (“’814 patent”)
 24            Expert Declaration of Robert P. Colwell, Ph.D. Regarding Claim Construction
               dated June 3, 2021 (“Colwell Decl.”) and Appendix A thereto, filed in ACQIS LLC
               v. Samsung Elec. Co., Ltd., et al., No. 2:20-cv-00295-JRG (E.D. Tex. Aug. 30,
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 26            Excerpt of EMC Corp. v. ACQIS LLC, IPR2014-01469, Hearing Transcript, Paper
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 27            Excerpt of EMC Corp. v. ACQIS LLC, IPR2014-01469, Transcript of Deposition of
               Volken Lindenstruth, Ph.D. (PTAB Aug. 28, 2015)
 28            Excerpt of EMC Corp. v. ACQIS LLC, IPR2014-01469, Declaration of Deposition
               of Volken Lindenstruth, Ph.D. (PTAB Jun. 11, 2015)
 29            Plaintiff ACQIS LLC’s Opening Claim Construction Brief from ACQIS LLC v.
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 30            Defendants’ Aug. 9, 2021 Preliminary Proposed Claim Constructions from the
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 31            ACQIS’s Aug. 9, 2021 Preliminary Proposed Claim Constructions from the present
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 32            Excerpt of EMC Corp. v. ACQIS LLC, IPR2014-01462, Patent Owner’s
               Preliminary Response (PTAB Dec. 15, 2014)
 33            Excerpt of Intel Corp. v. ACQIS LLC, IPR2021-01107, Patent Owner’s Preliminary
               Response (PTAB Sep. 17, 2021)

       Exhibits 1-31 were submitted with Plaintiff ACQIS LLC (“ACQIS”)’s Responsive Claim
Construction Brief (“Resp.”). Exhibits 32-33 are submitted concurrently with ACQIS’s Surreply
Claim Construction Brief (“Surr.”).




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         Much of Defendants’ Reply Claim Construction Brief (“Reply”) reiterates their

Opening Claim Construction Brief (“Br.”), which ACQIS has already addressed in its

Response. The Reply has, however, made clear that many of Defendants’ proposed

constructions, particularly those relating to the “PCI bus transaction,” rest on two shaky

grounds: collateral estoppel and disclaimer. Defendants essentially assert that these two

arguments allow the Court to disregard long-established canons of claim construction. If the

Court does not apply the collateral estoppel and disclaimer arguments as Defendants claim,

Defendants have little, if anything, to support their proposed constructions.

         Within the last month, at least one other Court has already rejected the estoppel and

disclaimer arguments. In the Samsung litigation, Judge Payne adopted constructions that are

consistent with ACQIS’s proposed constructions and necessarily rejected the estoppel and

disclaimer arguments, similarly espoused by Samsung. Reply, Ex. 27 at 17-19, 23, 26-27.

ACQIS’s proposed constructions are also consistent with the prior constructions of Judge

Davis in the EMC litigation. Here, ACQIS seeks very similar or identical constructions, with

the one caveat being that on certain terms, ACQIS requests a construction that would

streamline the infringement and invalidity stages of this case, something Judge Payne and

Judge Davis left for later. Accordingly, ACQIS respectfully requests that the Court adopt

each of its proposed constructions that will advance the case.

I.       “PERIPHERAL COMPONENT INTERCONNECT (PCI) BUS TRANSACTION” /
         “PCI BUS TRANSACTION”

         A.    ACQIS’s Proposed Construction Is Consistent with, and Adds Specificity to,
         Judge Payne’s and Judge Davis’s Prior Constructions.

         When interpreting “PCI bus transaction,” Judge Davis found that (1) a “transaction”

means “information,” (2) it does not mean “signals,” and (3) a “PCI bus transaction” does

not require a parallel PCI bus. ACQIS LLC v. Alcatel-Lucent USA Inc., No. 6:13-CV-638,

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2015 U.S. Dist. LEXIS 48339, at *13-15 (E.D. Tex. Apr. 13, 2015) (“Alcatel-Lucent”).

ACQIS accepts this holding and proposes a construction that adds specificity regarding the

information required by a “PCI bus transaction” to address a fundamental dispute between

the parties. Resp. at 7. Defendants ignore the need for greater specificity.

         Defendants mischaracterize Judge Davis’s ruling in claiming that he has already

rejected ACQIS’s proposed construction. Reply at 2. While Judge Davis explained that “a

PCI bus transaction must include all information required by the PCI standard,” he did not

provide any more specificity about how to determine what information is required and what

is not required. Alcatel-Lucent, 2015 U.S. Dist. LEXIS 48339, at *15 (emphasis added).

Importantly, he did not conclude that “all information required by the PCI standard” for a

“PCI bus transaction” includes everything contained in the PCI Specification, id., because

much of the specification has nothing to do with what constitutes a “transaction.” Instead,

Judge Davis found only that the “extrinsic evidence does not clearly define a ‘transaction.’”

Id. Requiring everything contained in the PCI Specification would conflict with Judge

Davis’s earlier Order that the term “PCI bus transaction” does not require aspects related to

a parallel PCI bus—and instead facilitates “backward compatibility” for legacy PCI devices.

ACQIS LLC v. Appro Int’l, Inc., No. 6:09-CV-148, 2011 U.S. Dist. LEXIS 10515, at *24-25

(E.D. Tex. Feb. 3, 2011) (“Appro”). While ACQIS addressed the impact of Appro on the

construction of “PCI bus transaction” (Resp. at 12, 14), Defendants have ignored Judge

Davis’s earlier decision. But, the construction must be read in the context of Judge Davis’s

prior decision.

         On its face, Judge Davis’s construction requires less than what ACQIS proposes

because he construed the term to require just “information, in accordance with the PCI



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standard,” while ACQIS’s proposed construction would require which specific

“information:” “digital command, address, and data information.” Judge Davis’s analysis

thus did not resolve the fundamental dispute here, and it does not preclude ACQIS’s current

construction under collateral estoppel or any other theory. See Personalized Media

Communs., LLC v. Google LLC, 2:19-cv-00090-JRG, 2020 U.S. Dist. LEXIS 59421, at *16-

17 (E.D. Tex. Apr. 3, 2020) (explaining that collateral estoppel applies only to an issue

“identical to the issue litigated in a prior action”) (quoting State Farm Mut. Auto. Ins. Co. v.

Logisticare Solutions, LLC, 751 F.3d 684, 689 (5th Cir. 2014)). ACQIS’s proposed

construction here incorporates additional detail, based on the intrinsic and extrinsic

evidence, to resolve the dispute about which information from the PCI Specification a

“transaction” requires. It aligns with and complements Judge Davis’s construction and

conclusions.

         ACQIS’s proposed construction is also consistent with, but adds specificity to, Judge

Payne’s construction of “PCI bus transaction.” Judge Payne “decline[d], however, to rule in

claim construction whether a particular set of information qualifies as a transaction under

the PCI Local Bus Specification.” Reply, Ex. 27 at 17. Instead, Judge Payne stated that the

specific information contained in a “PCI bus transaction” is “an issue of fact to be

considered in the context of an infringement or invalidity analysis rather than an issue of

claim construction.” Id. at 18. Thus, Judge Payne’s rationale demonstrates that Defendants’

construction—that a “PCI bus transaction” must include more than address, data, byte

enable information, and command information bits—is wrong since Judge Payne expressly

left that question for the finder of fact. Id. By adopting ACQIS’s proposed construction, the

Court would provide useful guidance on what specific information is contained in a “PCI



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bus transaction,” which would focus the infringement and invalidity analysis by avoiding

competing application of the same construction in subsequent briefing or at trial. ACQIS has

provided sufficient intrinsic and extrinsic evidence for this Court to adopt its proposed

construction.

         B.        ACQIS Never Disclaimed Its Proposed Construction.

         Defendants’ proposed construction of “PCI bus transaction” depends on ACQIS’s

alleged disavowal of claim scope. But that did not happen. Defendants take ACQIS’s past

statements out of context and otherwise omit and ignore evidence that refutes their position.

                   1.     ACQIS’s 2014 IPR statements were not clear and unmistakable
                   disclaimers.

         As ACQIS explained in its Response, “before the PTAB, as here, ACQIS contends

that a ‘PCI bus transaction’ should be construed in accordance with the information

required by the PCI Specification.” Resp. at 18. Defendants claim that this is “[n]ot true”

and that “ACQIS told the PTAB that a PCI Bus Transaction is a transaction.” Reply at 2-3

(emphasis in original). Defendants’ basis for this statement is a quoted heading from page

five of the Patent Owner’s Preliminary Response in IPR2014-01462: “‘PCI bus transaction’

is properly limited to bus transactions according to the Peripheral Component Interconnect

protocol.” Id. But this ignores other parts of the Preliminary Response that put ACQIS’s

statements in the proper context and directly, and resoundingly, contradict Defendants’

position.

         First, Defendants omitted from their exhibit the page of the Preliminary Response

just prior to the heading they quote, but that page expressly states that ACQIS’s proposed

construction of “PCI bus transaction” requires specific information. ACQIS told the PTAB

that “[t]he BRI [Broadest Reasonable Interpretation] of ‘PCI bus transaction’ is ‘command,


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address, and data information, in accordance with the PCI standard, for communication

with an interconnected peripheral component.” Surr., Ex. 32 at 4 (emphasis added). ACQIS

even provided a table, ignored by Defendants, plainly showing that ACQIS’s proposed

construction of “PCI Bus transaction” requires specific information:




Id. ACQIS’s proposed construction during an IPR seven years ago is substantively the same

as it is now, and it is directed to information. See Resp. at 6. This omitted information alone

shows that there was no clear and unmistakable disclaimer. 3M Innovative Props. Co. v.

Tredegar Corp., 725 F.3d 1315, 1325 (Fed. Cir. 2013) (“[O]ur precedent requires that, in

order for prosecution disclaimer to attach, the disavowal must be both clear and

unmistakable.”).

         Table 1 above also provides context for the heading quoted by Defendants. Petitioner

EMC proposed to construe “PCI bus transaction” as a generic transaction, without any

reference to the PCI standard. Surr., Ex. 32 at 4. The quoted heading comes from a section

in which ACQIS argued that construing the term without reference to the PCI standard is

improper. Id. at 5. ACQIS explained to the PTAB, “[h]ere, Petitioner’s proposed

construction of ‘PCI bus transaction’ reads ‘PCI’ out of all of the Petitioned Claims.” Id. at

9. ACQIS never argued to the PTAB that a “transaction” should simply be construed as a

“transaction.” It did the opposite. Id. at 10 (“The broadest reasonable interpretation of ‘PCI

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bus transaction’ includes the address, data, and command information from the Peripheral

Component Interconnect protocol”). These statements fully refute Defendants’ disclaimer

argument. Defendants’ statement that the quoted heading is an “unequivocal admission[]

that a PCI bus transaction is a transaction” (Reply at 3) is, at best, deceptive hyperbole.

         Second, Defendants also selectively quote statements from one of ACQIS’s IPR

experts, Dr. Lindenstruth, to prove disclaimer of embodiments that do not require “control

signals.” Reply at 3, 4. Taken in context, the quoted testimony does not show disclaimer.

Defendants refer to “control signals” in their Reply, but the testimony actually refers to

“control lines.” See, e.g., id. at 3 (“Q. Do these control lines, such as frame, target ready,

and so forth, are they part of the PCI bus transaction as you understand that term in the

claims of the patent?”). “Control lines” are not “control signals.” EMC’s counsel’s and Dr.

Lindenstruth’s references to “control lines” indicate that they were talking about a physical

bus. As further evidence that they were discussing a physical bus, in the passage just prior to

the reference to “control lines,” Dr. Lindenstruth discussed the “pins” of a physical bus and

the separate control lines corresponding to those pins. Br., Ex. 12 at 144:7-145:17. Dr.

Lindenstruth’s testimony shows there was no disclaimer, but, even if it were merely

ambiguous, that would defeat the disclaimer argument. Avid Tech., Inc. v. Harmonic, Inc.,

812 F.3d 1040, 1045 (Fed. Cir. 2016) (“Where the alleged disavowal is ambiguous, or even

amenable to multiple reason interpretations, we have declined to find prosecution

disclaimer.”) (internal quotations and citations omitted).

         Further, Dr. Lindenstruth’s statement that the “control lines…define the PCI

transaction” does not concede that they are part of the transaction. Dr. Lindenstruth’s

testimony indicates that they are separate:



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         The frame signal is there to define the length of the transaction. This is a very
         fundamental thing because, unlike in other cases, in particular typically in
         networks, where the length of the packet is basically submitted as one of the
         very first words in the head of the packet saying, "This is it" and, "This is how
         long it will be." In PCI this doesn't exist.

Br., Ex. 12 at 143:9-16. The full testimony indicates that, in some other protocols, the length

of a transaction is submitted as a part of the transaction/packet. Dr. Lindenstruth testified

this is not the case in PCI. Id. (“In PCI this doesn’t exist.”). Here, just because something

“defines the transaction” and “has to be there” when conveying a PCI bus transaction over a

parallel PCI bus does not make it a part of the transaction. A protocol can require sending a

message on one wire saying “the next packet you see will be three bytes long” and then send

the packet/transaction on another, different wire. That first message is not a “part” of the

transaction even though it does “have to be there” (when conveying a PCI bus transaction

over a parallel bus) and “defines the transaction.” Although such signals might define the

length of the transaction, they are not necessarily a part of the transaction itself. Dr.

Lindenstruth testimony does not constitute clear and unmistakable disclaimer of any claim

scope.

         In addition, ACQIS has explained that Dr. Lindenstruth’s confirmation during his

deposition of the construction set out in his earlier declaration (i.e., that a PCI bus

transaction was only required to include “address and bus command information” and “data

and byte enable[]” information) undermines Defendants’ disclaimer argument. Resp. at 19-

20. Defendants fail to address ACQIS’s argument or explain why the declaration does not

overcome their disclaimer argument. Accordingly, Defendants have not shown a clear and

unmistakable disclaimer that would have been evident to a person of ordinary skill in the art.

GE Lighting Solutions, LLC v. AgiLight, Inc., 750 F.3d 1304, 1309 (Fed. Cir. 2014) (“The

standards for finding lexicography and disavowal are exacting.”).

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         Third, ACQIS has explained that statements by its IPR counsel referring to “control

bits,” when read in context, were clearly meant to refer to “command information” and are

consistent with ACQIS’s proposed construction of “PCI bus transaction.” Resp. at 18-20.

Defendants cite Tech. Props. Ltd. LLC v. Huawei Techs. Co., 849 F.3d 1349 (Fed. Cir.

2017) in an attempt to show that this clear misstatement by ACQIS’s counsel, made while

discussing a part of the PCI Specification titled “Command Definition” during oral

argument, constitutes disclaimer. Reply at 4. But that case does not support Defendants’

argument. It dealt with a patentee who made intentional and unequivocal written statements

during prosecution that argued its claims overcame the prior art. Tech. Props., 849 F.3d. at

1359. Those statements went beyond what the patentee needed to overcome the prior art,

and in litigation, the patentee argued that its broad, unequivocal written statement should not

be considered disclaimer for that reason. Id. The Federal Circuit held that because “[t]he

question is what a person of ordinary skill would understand the patentee to have disclaimed

during prosecution,” it did not matter what the patentee could have said to determine

disclaimer. Id. That case did not deal with an obvious misstatement by counsel during oral

argument. And the present case does not relate to making a statement that was broader than

needed to overcome the prior art. At most, the statements by ACQIS’s counsel were

ambiguous and may be subject to more than one reasonable interpretation, which defeats

Defendants’ disclaimer argument. See Avid Tech., 812 F.3d at 1045. Misstatements, such

as the ones here about “control bits” while discussing the “Command Definition” of the

specification, create ambiguity and are not “clear and unmistakable,” especially in light of

all the written material to the contrary. Therefore, they cannot constitute disclaimer. See

Ecolab, Inc. v. FMC Corp., 569 F.3d 1335, 1342 (Fed. Cir. 2009) (“Even if an isolated



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statement appears to disclaim subject matter, the prosecution history as a whole may

demonstrate that the patentee committed no clear and unmistakable disclaimer.”) (internal

citations omitted); Elbex Video, Ltd. v. Sensormatic Elecs. Corp., 508 F.3d 1366, 1371-73

(Fed. Cir. 2007) (statement that may be read in isolation as constituting disclaimer did not

meet threshold for disclaimer in view of intrinsic evidence as a whole because the erroneous

statement had no intrinsic support, and other statements in same prosecution communication

created further ambiguity as to that statement); Rambus Inc. v. Infineon Techs. AG, 318

F.3d 1081, 1089-91 (Fed. Cir. 2003) (finding no clear disclaimer because the statement

made was “facially inaccurate” in light of the remainder of the prosecution history); Biotec

Biologische Naturverpackugen GmbH & Co. KG v. Biocorp, Inc., 249 F.3d 1341, 1348

(Fed. Cir. 2001) (finding no clear disclaimer because "a person of reasonable intelligence

would not be misled into relying on the erroneous statement, for it is contrary not only to

the plain language of the claims and the specification, but also to other statements in the

same prosecution document"). Taken in context, no person of ordinary skill in the art would

conclude that an attorney’s obvious misstatement, by itself, constitutes clear and

unmistakable disclaimer.

                   2.   Judge Payne found no disclaimer.

         Judge Payne considered ACQIS’s IPR statements and found that “[t]his does not rise

to the level of disclaimer to constrain a list of information items from a PCI bus transaction

to require all information of a PCI bus transaction regardless what items are enumerated in

the list.” Reply, Ex. 27 at 23. Defendants suggest that this was because Judge Payne was not

directed to Dr. Lindenstruth’s statement that a claim reciting address and data bits of a PCI

bus transaction also requires other “corollary information.” Reply at 12 n.9. However,

Defendants neglect to point out that the “corollary information” Dr. Lindenstruth referred to

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was only “command information,” which is part of ACQIS’s proposed construction, not all

of the other aspects of the PCI Specification. Br., Ex. 12 at 121:5-15.

                   3.     Any disclaimer relating to the ’873 and ’814 patents does not attach to
                   the asserted reissue patents.

         Defendants argue that disclaimer relating to the ’873 and ’814 patents attaches to the

asserted reissue patents. Reply at 5 (citing Trading Techs. Int’l, Inc. v. Open E Cry, LLC,

728 F.3d 1309 (Fed. Cir. 2013)). They claim that the prosecution histories of these patents

inform the use of the same limitations in the reissue patents because they are related, but

they do not dispute that the reissue patents have different disclosures from, and do not claim

priority to, the ’873 and ’814 patents. Trading Techs. teaches “that arguments made in a

related application do not automatically apply to different claims in a separate application.”

728 F.3d at 1323 (internal citations and quotations omitted). The Federal Circuit concluded

that disclaimer did not extend between related patents because of differences in their claim

language and disclosures. Id. The same rationale applies here. See Resp. at 30; see also

Section III.B., infra.

         C.    The Intrinsic and Extrinsic Evidence Establishes that a “PCI Bus
         Transaction” Is Not Required to Include Information Beyond Address, Data, Byte
         Enable, and Command Type Information.

         ACQIS has described Figure 13 of the ’768 patent as showing an embodiment of the

claimed invention, noting that it includes the address, data, and byte enable information bits

shown in the claims, but it does not include parity and control signals such as FRAME#,

IRDY#, and TRDY#. Resp. at 10-11. ACQIS explained that those signals are replaced with

new bits, different from existing PCI, and represented in Figure 13 as BS0 to BS3. Id. at 11.

Defendants sow confusion by treating a representation of the parity and control signals as

the signals themselves. Reply at 8. They do not address the fact that the new replacement


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bits are different from existing PCI, which is why they are not shown in the depiction of

prior art in Figure 16 of the ’768 patent.

         Defendants also argue that, because the specification of the ’873 patent describes

“the present invention” as including control bits representing PCI signals, those control bits

must be included in the recited “PCI bus transaction.” Reply at 8-9, citing ’873 patent, 5:33-

36. However, nowhere in the cited language does the specification expressly or impliedly

state that a “PCI bus transaction” requires PCI control signals or parity. Defendants’ cited

language is irrelevant since it does nothing to answer the actual question in dispute—i.e.,

what information must be included in a “PCI bus transaction”?

         ACQIS has explained that parity might be calculated on transactions, but it is not a

part of the transaction itself. Resp. at 13, 15-17. Defendants respond by quoting intrinsic

evidence about parity “lagging” address and data, being “calculated on” PCI transactions,

“illustrat[ing]” transactions with parity, etc. Reply at 7. None of this evidence suggests that

parity is part of the information included in a “PCI bus transaction.” Moreover, ACQIS has

pointed out in that Defendants have not addressed that the “PCI bus transaction” described

in Figure 13 does not reference “parity” at all. Resp. at 17. Even after Defendants filed their

Reply, this statement still holds true.

         D.     Defendants’ Proposed Construction Is Ambiguous and Fails to Resolve
         Anticipated Infringement Disputes.

         Defendants have failed to explain exactly which bits of information a PCI bus

transaction must contain. This issue was specifically left open by Judge Davis. Nevertheless,

Defendants argue that their proposed construction is sufficient because it is the same as the

EMC court construction. Reply at 9-10. But the EMC court’s construction is flawed (see

Resp. at 20-23), led to Judge Burroughs finding a waiver of an issue that was never briefed,


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and is on appeal. Accordingly, Defendants’ reliance on the EMC decision for a clear

resolution is misplaced.

         E.        The EMC litigation did not result in collateral estoppel.

         In Samsung,1 Judge Payne considered essentially the same collateral estoppel issue

present before this Court—i.e., whether the EMC case precludes ACQIS’s proposed

construction of “PCI bus transaction”—and concluded that it does not. He recognized that,

“[w]hile the scope of related limitations in related patents has been previously addressed in

other cases, the previous determinations do not rise to the level of collateral estoppel

regarding the issue here; namely, what set of information qualifies as a transaction under the

PCI Local Bus Specification.” Reply, Ex. 27 at 17-18. He further explained that, “[i]n this

context, where the EMC case involved claims of different scope in different patents asserted

against different technology and where the EMC Summary Judgment was premised on the

procedural posture rather than whether the PCI Local Bus Specification actually

distinguishes between information used to convey a transaction and the transaction itself,

collateral estopped does not apply.” Id. at 18-19. Judge Payne’s reasoning is sound, and, for

the same reasons, collateral estoppel from the EMC case does not apply here. Surprisingly,

Defendants fail to mention Judge Payne’s decision even once when discussing collateral

estoppel. Had Defendants been able to refute Judge Payne’s simple distillation of the issue,

they would have tried to do so. Their silence is telling.

         Defendants’ arguments for collateral estoppel are essentially reiterations of the

arguments made in its Opening Brief and rebutted in ACQIS’s Responsive Brief. Resp. at

20-23. The only new argument made by Defendants is that a pending appeal does not


1
 In Samsung, ACQIS asserted a subset of the patents asserted in this case and proposed the same
construction for “PCI bus transaction” that it has proposed here.

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preclude collateral estoppel in the Fifth Circuit. Reply at 11. Although courts in patent cases

are guided by the collateral estoppel criteria of the regional circuit, “Federal Circuit

precedent applies, however, to aspects of the collateral estoppel analysis that are particular

to patent law.” Phil-Insul Corp. v. Airlite Plastics Co., 854 F.3d 1344, 1353 (Fed. Cir.

2017). The finality of claim constructions is an aspect of collateral estoppel particular to

patent law, and claim constructions become final when the Federal Circuit affirms them on

appeal. Id. at 1357-58. ACQIS previously cited the Phil-Insul decision (Resp. at 22), but

Defendants have not distinguished it. Defendants cite Novartis Pharms. Corp. v. Watson

Labs., Inc., 611 Fed. Appx. 988 (Fed. Cir. 2015) for support, but that non-precedential case

is distinguishable because the Court specifically noted that claim construction was not at

issue on appeal. Id. at 994. The other two decisions relied on by Defendants (Reply at 11,

n.7) are from other districts and do not relate to patent law.

II.      CLAIMS RECITING “ADDRESS AND DATA BITS” OR “ADDRESS BITS,
         DATA BITS, AND BYTE ENABLE INFORMATION BITS” OF A PCI BUS
         TRANSACTION

         ACQIS has argued that Defendants’ proposed construction of the claims reciting

specific bits are wrong because they render express claim language meaningless, they

violate the presumption of claim differentiation, and they conflict with the specifications’

disclosures. Resp. at 24-25. Rather than attempting to directly rebut any of those arguments,

Defendants argues that “all of those principles are trumped by ACQIS’s IPR disclaimers.”2

Reply at 12. Put differently, Defendants have bet everything on IPR disclaimer, and, if that

argument fails—as it did with Judge Payne—they have no basis for disregarding established



2
 Defendants confusingly state that “ACQIS did not attempt to rebut” their disclaimer argument.
Reply at 12. This is false. ACQIS rebutted Defendant’s IPR disclaimer argument at pages 18-20
of its Response.

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canons of claim construction. ACQIS and Judge Payne have explained that none of

ACQIS’s IPR statements clearly and unmistakably disclaimed the scope of this limitation.

See Resp. at 18-20; Reply, Ex. 27 at 23. Accordingly, the Court should reject Defendants’

proposed construction of this term because it violates multiple principles of claim

construction without justification.

III.     CLAIMS RECITING AN “ENCODED” PCI BUS TRANSACTION OR A PCI BUS
         TRANSACTION IN “SERIAL STREAM” OR “SERIAL FORM”

         A.     The Claim Terms Do Not Necessarily Require a Parallel-to-Serial Conversion
         of a PCI Bus Transaction

         Defendants point to language describing Figure 10 (which on its face shows encoders

separated from both parallel to serial and serial parallel to converters) as evidence for their

proposed construction, but that language merely states that encoders can format address and

data bits to a form more suitable for serialization. Reply at 15-16. It does not require them to

actually carry out that conversion. Id.

         Judge Payne rejected the construction proposed by Defendants for “encoding” and

“serial.” Reply, Ex. 27 at 26-27. He recognized that the claims themselves do not specify a

transaction that has been converted from parallel to serial form and that there is nothing else

in the patents that restricts all encoded or serially transmitted PCI bus transactions to

transactions that have been serialized from a parallel form. Id. In fact, Judge Payne

identified certain embodiments suggesting that the transaction may originate in serial form

and thus would not require conversion. Id. Finally, Judge Payne concluded that ACQIS’s

remarks regarding the ’873 patent do not rise to the level of disclaimer, and even if they did,

that disclaimer would not attach to related patents. Id. Consistent with Judge Payne’s

findings, Defendants have failed to cite any intrinsic evidence supporting their construction.



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         B.    ACQIS’s Statements in Pending IPRs Are Consistent with Its Proposed
         Construction.

         Defendants argue that ACQIS’s position here is inconsistent with the positions taken

in currently pending IPRs. Reply at 14-15. In fact, they are consistent. The ’873 patent does

not explicitly include certain figures and description that were added in later-filed

continuations and required by the claims of those continuations for written description

support. Defendants’ argument is wrong and relies on selectively quoting and misstating

ACQIS’s IPR arguments. ACQIS has maintained in the co-pending IPRs that Figs. 8A and

8B from provisional application Chu ’886 are not essential to the claims of the earlier

patents in the ’768 patent priority chain (e.g., the ’873 and preceding patents) for written

description support and were explicitly not included in the figures and specification of those

patents. Surr., Ex. 33, IPR2021-01107, Patent Owner’s Preliminary Response at 19 (PTAB

Sep. 17, 2021). The figures and description from Chu ’886 were only included in

continuations after3 the ’873 patent because the later patents have claims with limitations

that require those figures and description for written description support, and they explicitly

added those figures and description from Chu ’886 (which was proper due to the

incorporation by reference of Chu ’886). See id. at 14-16. Because the claims of the ’873

patent do not directly/explicitly recite or rely on Figures 8A-8B for written description

support, it was proper for those figures to be excluded from the claim construction analysis.

Accordingly, the positions taken by ACQIS during the EMC IPR, this litigation, and the co-

pending IPRs are consistent.




3
 The first such continuation was U.S. Application No. 13/087,912 which issued as U.S. Patent
No. 8,234,436 (not asserted in the present litigation). Surr., Ex. 33 at 6-10. They are referred to
as the “’912 application” and the “’436 patent,” respectively, in the IPR proceedings. Id. at 19.

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IV.      “UNIVERSAL SERIAL BUS (USB) PROTOCOL [DATA]” / “UNIVERSAL
         SERIAL BUS (USB) PROTOCOL INFORMATION”

         Defendants’ Reply largely repeats the arguments from its Opening Brief regarding the

USB terms, and ACQIS has previously explained why its own proposed constructions are more

consistent with intrinsic and extrinsic evidence.4 See Resp. at 34-39. Defendants mischaracterize

ACQIS’s proposed construction as an attempt to claim USB 3.0. ACQIS does not dispute that

“USB” in the claims refers to the USB specifications in existence at the time of the invention

(i.e., USB 2.0 and earlier).5 Resp. at 34, 38. ACQIS supported its proposed construction, in-

part, by referencing USB 2.0 and earlier. Id. at 36. However, in the same way that a 2021 Ford F-

150 has components in common with, or similar to, a 2016 Ford F-150, USB 3.0 has many

requirements in common with USB 2.0. With respect to the recited claim terms, USB 2.0 and 3.0

are substantially the same. See id. at 37-38. Just as a patent that issued at the same time as the

2016 F-150 could still cover aspects of the 2021 model, the asserted USB claims, while referring

to USB 2.0 and earlier, can still cover USB 3.0 devices if they also meet the relevant aspects of

USB 2.0. Indeed, patents can read on entire standards that did not exist until after their filing

date. See, e.g., Fujitsu Ltd. v. Netgear, Inc., 07-cv-710-bbc, 2009 U.S. Dist. LEXIS 739, at *7

(W.D. Wis. Jan. 5, 2009) (“[D]etermining whether plaintiffs patents read on the standards require

nothing more than comparing the standards’ language to the patents’ claim language…”). Judge

Payne did not find that a USB 3.0 device could not be in accordance with the protocols defined

in USB 2.0 or earlier. In response to ACQIS’s challenge to identify “any meaningful difference



4
  Defendants also argue that ACQIS’s proposed construction would result in “nonsensical
interpretations,” but it fails to explain why they would be “nonsensical” or why different claim
language not at issue here would not have a different construction. Reply at 17.
5
  As Judge Payne recognized, while the USB protocol information and/or data conveyed in the
USB claims are necessarily in accordance with the USB standard known as of the priority date,
the conveyance is not. Reply, Ex. 27 at 32-33.

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between USB 2.0 and 3.0 that is relevant to the scope of the claims terms” (Resp. at 38),

Defendants tell the Court that, “[c]ontrary to ACQIS’s bare assertions, there are substantial

differences between USB 2.0 and 3.0” but failed to provide even one example.6 Reply at 17.

         ACQIS’s proposed construction adds specificity regarding the content of the information

and/or data to help narrow and streamline the infringement and invalidity stages of this 15-patent

litigation. This is consistent with Judge Payne’s construction because he did not identify the

specific information required by the USB terms, effectively leaving that question for the finder

of fact. See id. at 33. Under Judge Payne’s construction, determining whether a USB 3.0 product

infringes the claims requires reviewing the factual detail and determining whether the specific

claimed aspects as described in USB 2.0 or earlier are still present. Accordingly, ACQIS’s

proposed construction is consistent with Judge Payne’s construction, but it would help narrow

the issues as there are no meaningful disputes concerning the additions proposed in ACQIS’s

construction.

V.        “COMPUTER MODULE”

         Defendants argue that a “computer module” must include at least a “processor,”

“memory,” and “mass storage” because there is allegedly no embodiment in the specification

without those generic components. Reply at 18. Defendants also seek to import “user-

removable” and “user-portable” into the claims because the specifications recite the different

terms, “removable” and “portable.” Id. at 19-20. However, the specifications expressly state that



6
  Defendants cite to two declarations of Dr. Colwell, Samsung’s expert, for support but do not
discuss them or explain their relevance. Reply at 17, citing Br., Ex. 31 ¶¶ 60-63 and Ex. 32 ¶¶
43-45. Dr. Colwell alleges that ACQIS’s expert in Samsung, stated that, while USB 2.0 and
earlier versions were half-duplex, the claimed invention had the capacity for full-duplex
functionality. But, Dr. Colwell protests, USB did not have full-duplex capability until USB 3.0.
This only establishes that the claims are an improvement over USB 2.0 and earlier versions and
do not require adherence to all aspects of those specifications. Resp. 35-36.

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the claims are not limited to the preferred embodiments disclosed in the specification. See, e.g.,

Resp., Ex. 1, ’768 patent at 40:7-34; Ex. 5, ’873 patent at 37:1-16; Ex. 15, ’947 patent at 23:14-

19. The Federal Circuit has explained that the claims, not the specification embodiments, define

the metes and bounds of the patentee’s invention. Kara Tech. Inc. v. Stamps.com Inc., 582 F.3d

1341, 1348 (Fed. Cir. 2009) (“The patentee is entitled to the full scope of his claims, and we will

not limit him to his preferred embodiment or import a limitation from the specification into the

claims.”). Even where the specification describes specific embodiments of the invention, the

Federal Circuit has “repeatedly warned against confining the claims to those embodiments.”

Phillips v. AWH Corp., 415 F.3d 1303, 1323 (Fed. Cir. 2005). Defendants provide no valid

reason to violate this well-settled canon of claim construction.

         Defendants offer to change their construction to omit “mass storage” and match a

construction proposed by ACQIS in the Appro case that includes a “processing unit” and

“memory,” but they omit three key facts: (1) ACQIS changed its proposed construction during

that case’s Markman hearing to omit “processing unit” and “memory,” (2) Judge Davis has

construed this term twice in substantially the same way that ACQIS now proposes, and (3) he

has consistently rejected attempts to import a “processor,” “memory,” “mass storage,” “user-

removability,” and “user-portability” into the claims. See ACQIS LLC v. Appro Int’l, Inc., No.

6:09-cv-148, 2010 U.S. Dist. LEXIS 77548, at *16-17 (E.D. Tex. Aug. 2, 2010); Alcatel-Lucent,

2015 U.S. Dist. LEXIS 48339, at *19-22. Although ACQIS discussed Judge Davis’s

construction (Resp. at 40, 42-43), Defendants have failed to explain why his construction should

not also apply here. Defendants reference Judge Davis’s decisions regarding “computer module”

only twice. First, they attempt to equate his inclusion of “removable” in his most recent

construction with Defendants’ proposed “user-removable.” Reply at 19. However, they neglect



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to mention that Judge Davis left the scope of “removability” for the jury, stating “whereas a

driver may consider a car key to be removable from the ignition, a mechanic might consider the

ignition itself to be removable.” Alcatel-Lucent, 2015 U.S. Dist. LEXIS 48339, at *21. He did

not state that “removable” and “user-removable” are the same. Defendants also state that it was

incorrect for Judge Davis to find that “user-portable” “introduces unnecessary ambiguity”

because the specification uses the term “portable,” ignoring the fact that “user-portable” is a

different term that does not appear in the specification. Reply at 19 n.13. The Court should adopt

ACQIS’s unambiguous construction, which is consistent with both of Judge Davis’s prior

constructions of “computer module.”

VI.      “CONSOLE”

          Defendants argue that the specification “expressly defines a ‘coupling site’ to be a

‘computer module bay.’” Reply at 20. This is not so. The passage of the specification on which

Defendants rely provides that, in one embodiment, a console comprises “a first coupling site and

a second coupling site, e.g., computer module bay.” Resp., Ex. 1, ’768 patent at 4:32-33

(emphasis added). By using “e.g.,” this passage provides “computer module bay” as one

example of a coupling site, it does not define “coupling site.”7 See Droplets, Inc. v. eBay, Inc.,

No. 2:11-CV-401-JRG-RSP, 2014 U.S. Dist. LEXIS 117699, at *20 (E.D. Tex. Aug. 22, 2014)

(characterizing “i.e.” as a “definitional expression” and “e.g.” as merely introducing examples);

eBay, Inc. v. IDT Corp., No 4:08-CV-04015-HFB, 2009 U.S. Dist. LEXIS 138768, at *61, n.6

(D. Ark. Oct. 15, 2009) (distinguishing between the “narrowing” use of “i.e.,” and the use of

“e.g.,” to mean “for example”). ACQIS’s proposed construction does not exclude embodiments


7
 See The Difference Between ‘i.e.’ and ‘e.g.’, MERRIAM-WEBSTER DICTIONARY,
https://www.merriam-webster.com/words-at-play/ie-vs-eg-abbreviation-meaning-usage-
difference, (last accessed Oct. 5, 2021) (“E.g. is used before an item or list of items that serve as
examples for the previous statement.”).

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as Defendants claim. Reply at 20. Rather Defendants’ proposed construction would

impermissibly limit “console” to one embodiment disclosed in the patents. Eko Brands, LLC v.

Adrian Rivera Maynez Enterprises, Inc., 946 F.3d 1367, 1373 (Fed. Cir. 2020) (finding error in a

proposed construction that would exclude “embodiments in the specification”).

         Defendants next argue that “console” should be limited to an “enclosure” rather than a

“device or enclosure.” Reply at 20. Defendants mischaracterize ACQIS’s arguments in Alcatel-

Lucent, to support its position. In Alcatel-Lucent, ACQIS opposed the construction “a device

that supplies a module with a primary input, display, and power supply to form an operating

computer system” not for its use of “a device” but because the inclusion of “input, display, and

power supply . . . would render certain claim terms superfluous.” 2015 U.S. Dist. LEXIS 48339,

at *22-24. Defendants do not dispute that the intrinsic record discloses that a “console” may be

an enclosure or another device, such as a chassis and motherboard. Reply at 20-21. Defendants

merely argue, with no citation to the intrinsic or extrinsic record, that a chassis “is an enclosure.”

Id. at 21. Defendants’ proposed construction risks excluding embodiments and should be

rejected. Eko Brands, 946 F.3d at 1373.

VII.     “SINGLE CHIP”

         Defendants allege that the plain and ordinary meaning of “single chip” is “one integrated

circuit chip” because the specifications of the patents-in-suit “use the term ‘chip’ to refer to an

integrated circuit chip.” Reply at 21. However, the only specific use of the term “integrated

circuit chip” Defendants can point to in the specifications is description of “a central processing

unit (i.e., integrated circuit chip)” (see Resp., Ex. 1, ’768 patent at 7:8-11). Not only does this

relate to a different term to be construed here, several of the asserted claims recite both a “central

processing unit” and a “single chip” and make clear that the “single chip” may include “a central

processing unit”—which itself may be an integrated circuit chip—and other elements. E.g., id.

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at 38-40 (“an integrated central processing unit, interface controller, and Phase-Locked Loop

(PLL) clock circuitry in a single chip”); Resp., Ex. 12, ’654 patent at 23:6-8 (“providing an

integrated Central Processing Unit (CPU) and graphics controller in a single chip, on a printed

circuit board of a computer”). The remainder of Defendants’ cited evidence references only

possible embodiments. Reply at 21 n.15

         The intrinsic record makes clear that a “single chip” is not limited to “one integrated

circuit chip” but may include integrated chips (such as a central processing unit) and other

elements as dictated by the claims. Defendants’ proposed interpretation should be rejected for

introducing ambiguity and violating the presumption of claim differentiation. See Helmsderfer v.

Bobrick Washroom Equip., Inc., 527 F.3d 1379, 1382 (Fed. Cir. 2008).

VIII. “CENTRAL PROCESSING UNIT”

         Defendants still do not identify any ambiguity in the specification that would require

interpreting “central processing unit” to be limited to “a single central processing unit or core

processing unit.” Reply at 21. The only intrinsic evidence Defendants rely upon to support their

interpretation is “an embodiment” that “identifies a single-CPU microprocessor” and

embodiments that recite connecting more than one central processing units. Br. at 44-45

(emphasis added). Defendants do not contend that every embodiment is limited to a “single

central processing unit or core processing unit,” and their proposed interpretation would

admittedly exclude embodiments in the intrinsic record. Id. at 45. Defendants’ proposed

construction must be denied. Eko Brands, 946 F.3d at 1373

IX.      CONCLUSION

         ACQIS respectfully requests that the Court adopt ACQIS’s proposed constructions.




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         Dated: October 11, 2021      Respectfully submitted,

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                                CERTIFICATE OF SERVICE
         Pursuant to the Federal Rules of Civil Procedure and Local Rule CV-5, I hereby certify

that, on October 11, 2021, all counsel of record who have appeared in this case are being served

with a copy of the foregoing via the Court’s CM/ECF system.

                                                    /s/ Paige Arnette Amstutz
                                                    Paige Arnette Amstutz




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